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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                 §
In re:                                           § Chapter 7
                                                 §
ALEXANDER E. JONES                               §
                                                 § Case No. 22-33553 (CML)
               Debtor.                           §
                                                 §

                       TRUSTEE’S APPLICATION TO EMPLOY
                    TRANZON AND TRANZON360 AS SALE BROKER

   THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
   YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
   MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
   PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
   THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
   21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
   STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE
   A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
   NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
   AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
   AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
   HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

   REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         Christopher R. Murray in his capacity as chapter 7 trustee (the “Trustee”) for the

bankruptcy estate of Alexander E. Jones (the “Debtor” or “Alex Jones”) hereby moves (the

“Motion”) this Court for entry of an order substantially in the form attached hereto under sections

105(a), 327(a), 328(a), and 330 of title 11 of the United States Bankruptcy Code (the “Bankruptcy

Code”), Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rules 2014-1 and 9013-1 of the Bankruptcy Local Rules for the Southern District of

Texas (the “Bankruptcy Local Rules”) authorizing the Trustee to employ Tranzon Asset

Advisors (“Tranzon”) and ThreeSixty Asset Advisors (“ThreeSixty”) (collectively,




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“Tranzon360”)1 as broker for the assets of the Debtor’s estate and assets the Trustee administers.

In support of this Motion, the Trustee relies on the Declarations of Kelly Toney (the “Toney

Declaration”) and Jeff Tanenbaum (the “Tanenbaum Declaration”) attached hereto as Exhibits

A and B, respectively. In further support of the Motion, the Trustee, by and through his

undersigned counsel, respectfully represents as follows:

                                     JURISDICTION AND VENUE
          1.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding under 28 U.S.C. §§ 157(b)(2)(A) and (O). Venue is proper before this Court pursuant

to 28 U.S.C. § 1408.

          2.       The statutory predicates for the requested relief herein are sections 105(a), 327(a),

328(a), and 330 of the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Bankruptcy Local

Rules 2014-1 and 9013-1.

                                              BACKGROUND
          3.       On July 29, 2022, the Debtor’s company, Free Speech Systems, LLC (“FSS”) filed

its petition for relief under chapter 11 of the Bankruptcy Code (the “FSS Bankruptcy”).

          4.       On December 2, 2022 (the “Petition Date”), the Debtor filed his individual

bankruptcy case seeking relief under chapter 11 of the Bankruptcy Code (the “Alex Jones

Bankruptcy”).

          5.       The FSS Bankruptcy and the Alex Jones Bankruptcy (collectively, the

“Bankruptcy Cases”) involve many of the same parties, including litigation creditors and




1
    The engagement with Tranzon and ThreeSixty is undertaken as a joint venture between the two firms, the
    engagement of which is not subject to separate compensation or reimbursement arrangements with the Trustee.
    Thus, the Trustee seeks retention of Tranzon and ThreeSixty via a singular retention application.

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overlapping disputes. In addition, the bankruptcy estate of Alex Jones owns 100 percent of the

membership interests in FSS.

       6.      On June 5, 2024, Alex Jones filed his Motion for Entry of an Order Converting

Debtor’s Chapter 11 Case under Chapter 7 of the Bankruptcy Code (the “Motion to Convert”)

seeking conversion of his individual bankruptcy case from a chapter 11 proceeding to one under

chapter 7. [Dkt. No. 684]. On June 14, 2024, the Court entered an Order Converting Debtor’s

Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy Code (the “Conversion Order”).

[Dkt. No. 708]. Christopher R. Murray was duly appointed as chapter 7 trustee for the Alex Jones

bankruptcy estate.

       7.      Also on June 14, 2024, the Court entered an Order in the FSS Bankruptcy Case

dismissing the FSS bankruptcy proceeding (the “Dismissal Order”). [Dkt. No. 956]. In the

Dismissal Order, the Court directed the CRO to transfer control and signing authority with respect

to FSS’s bank accounts to Christopher R. Murray, in his capacity as Trustee for the Alex Jones

bankruptcy estate. The Court also retained exclusive jurisdiction over various matters, including—

among others—the adversary proceeding entitled, Free Speech Systems, LLC v. PQPR Holdings

Limited LLC, et al., Adv. Case No. 23-03127 (Bankr. S.D. Tex.) (the “PQPR Adversary

Proceeding”). The assets of FSS are allegedly subject to liens in favor of PQPR which are the

subject of the PQPR Adversary Proceeding.

                                    RELIEF REQUESTED
       8.      By this Application, pursuant to sections 327(a) and 328(a) of the Bankruptcy

Code, the Trustee respectfully requests entry of an order authorizing the Trustee to retain Tranzon

and Tranzon360 as the Trustee’s sale broker, pursuant to that certain Bankruptcy Auction Agency

Agreement by and between the Trustee, Tranzon, and ThreeSixty, and that certain Agency and

Marketing Agreement by and between the Trustee and Tranzon attached hereto as Exhibits C and

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D, respectively (the “Agreements”),2 to help market, auction, and sell the assets of the Alex Jones

bankruptcy estate and any assets the Trustee otherwise administers in his capacity as the owner of

FSS. The Trustee also requests approval of the terms of the Tranzon and Tranzon360 fees and

expense reimbursements.

                 BASIS TO RETAIN TRANZON360 FOR MARKETING AND SALES
A.         Qualifications
           9.      Tranzon and Tranzon360 have extensive knowledge and professional experience

marketing and selling each class of assets the Trustee seeks to administer—including real property,

intellectual property, and personal property of all kinds—and are well-positioned to perform sales,

brokerage, and consulting services for high-profile sales. Tranzon and Tranzon360 utilize a

strategic process that includes (i) the development of a multifaceted marketing plan; (ii) a deep

and broad understanding of the subject assets and key factors such as timing, unique

circumstances, and market trends; and (iii) a massive database of potential buyers to create the

competitive conditions needed to yield the highest bidding prices. Tranzon and Tranzon360’s

clients have ranged from state and federal courts, Real Estate Investment Trusts, the FDIC, not-

for-profit institutions, national loan servicers, lenders and credit unions to individuals and trustees

involved in bankruptcy and estate settlement matters.

           10.     Tranzon and Tranzon360’s national footprint, network of real estate professionals,

trademarked Market-Making System, extensive database of targeted, perspective buyers and their

ability to leverage traditional approaches, social media, and public relations to generate national

and global sales interest allow them to provide a commercially reasonable sale process that

maximizes value in an expedited time frame. Tranzon and Tranzon360’s significant experience




2
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Agreements.

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with complex projects requiring out-of-the-box thinking, strategies, and policies will provide the

Trustee with the tools necessary to market and sell assets consistent with the high-profile nature

of this matter.

B.        The Engagement
          11.      The Trustee seeks to engage Tranzon360 on the terms and condition set forth in the

Bankruptcy Auction Agency Agreement and Tranzon, in its sole capacity, pursuant to the Agency

and Marketing Agreement. Tranzon is being engaged to market, auction, and sell subject to an

order of this Court, real property of the Alex Jones estate, and Tranzon360 is being engaged to sell

personal property and intellectual property belonging to FSS and Alex Jones. Accordingly,

Tranzon and Tranzon360 will perform the following services3 on the Trustee’s behalf, including

but not limited to:

          (a)      Assist the Trustee in analyzing assets for sale and develop a marketing strategy
                   designed to achieve the Trustee’s goal of creating and executing a value
                   maximizing sale process;

          (b)      Identify, collect, and organize information needed to prepare offering materials;

          (c)      Establish timeline goals and identify potential sale issues;

          (d)      Advise the Trustee regarding market value estimates based on market trends, and
                   timing assumptions;

          (e)      Finalize marketing materials and information memorandum and organize data for
                   marketing and internet or other data room presentation (i.e., Tranzon’s Market-
                   Making System);

          (f)      Distribute teaser and publish select advertising (i.e., Tranzon and ThreeSixty
                   websites, press release distribution, etc.) for broad market exposure and personally
                   connect and engage with prospective bidders, answering both asset related and bid-
                   procedure questions;

          (g)      Prepare Trustee-approved messaging to share with potential buyers;


3
    This description is a summary of services provided by Tranzon360. If any inconsistencies exist between this
    description and the terms of the Bankruptcy Auction Agency Agreement, the Bankruptcy Auction Agency
    Agreement controls.

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       (h)      If applicable, receive and review executed confidentiality agreements from buyers;

       (i)      Manage buyer activity throughout marketing and assist with buyer data needs;

       (j)      Receive bids and advise on bid evaluations;

       (k)      Facilitate negotiation of bids to the extent desired by the Trustee; and

       (l)      Provide buyer due diligence and closing support as requested by the Trustee.

C.     Disclosures Concerning Conflicts of Interest

       12.      To check and clear potential conflicts of interest in this case, Tranzon and

ThreeSixty have researched their client databases to determine whether either has or had

connection with the parties in interest listed on Schedule 1 to the Toney and Tanenbaum

Declarations.

       13.      To the best of the Trustee’s knowledge, and based upon the Toney and Tanenbaum

Declarations, Tranzon, ThreeSixty, and Tranzon360 are each a “disinterested person” within the

meaning of Section 101(14) of the Bankruptcy Code. To the best of the Trustee’s knowledge,

Tranzon, ThreeSixy, and Tranzon360 do not hold any interest adverse to the Debtor’s estate or

FSS. Further, to the best of the Trustee’s knowledge, neither Tranzon, ThreeSixty, nor Tranzon360

have any connection with the Debtor, FSS, their creditors, or any other party in interest herein, or

their respective attorneys or accountants, the U.S. Trustee or any person employed in the office of

the U.S. Trustee, except as set forth in the Toney and Tanenbaum Declarations.

       14.      From time to time, Tranzon, ThreeSixty, or Tranzon360 may have provided sales

and/or marketing services to certain creditors and other parties in interest in matters unrelated to

this case. Tranzon, ThreeSixy, and Tranzon360 have informed the Trustee that during their

retention by the Trustee in this case, they will not provide services to creditors of the Debtor or

FSS, including, without limitation, those listed on Schedule 1 attached to the Toney and

Tanenbaum Declarations, in connection with any matters relating to the Debtor or FSS. However,

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given their broad practice and client base, Tranzon, ThreeSixty, and Tranzon360 may provide

services to clients in matters unrelated to these proceedings who are or become creditors of the

Debtor or FSS or who may have interests adverse to such entities in unrelated matters.

D.     Proposed Compensation and Other Expenses

       15.       Under the Agreements, Tranzon and Tranzon360’s proposed compensation is

commission based on the following sales revenue and milestones:

             •   Intellectual Property Assets – 10% of the sale revenues up to $500,000; 7% of sale
                 revenues from $500,000.01 to $2,000,000; and 5% of sale revenues in excess of
                 $2,000,000.

             •   Personal Property Assets – 15% of sale revenues.

             •   Real property Assets – 6% of the total contract sales price.

       16.       Tranzon360’s expense reimbursement for the marketing and sale of intellectual and

personal property is approximately $72,100. Tranzon’s estimated expense reimbursement is

$25,000 for the marketing and sale of real property. Tranzon and Tranzon360 do not intend to file

any fee applications for the payment of fees or the reimbursement of expenses in this bankruptcy

case. Instead, Tranzon and Tranzon360 will seek approval and payment of fees and reimbursement

of expenses in connection with any motion to sell assets filed in this bankruptcy case. Nevertheless,

Tranzon and Tranzon360 reserve the right to file applications for payment of fees and the

reimbursement of expenses in this bankruptcy case.

                           AUTHORITY FOR RELIEF REQUESTED

       17.       The Trustee seeks to retain Tranzon and Tranzon360 pursuant to sections 327(a)

and 328(a) of the Bankruptcy Code. The Trustee respectfully submits that the terms of the proposed

engagement of Tranzon and Tranzon360 including, without limitation, its fees, should be

approved.



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       18.     The retention of Tranzon and Tranzon360 is proper under section 327(a) of the

Bankruptcy Code, which provides in relevant part that “[t]he trustee, with the Court’s approval,

may employ one or more attorneys, accountants, appraisers, auctioneers, or other professional

persons, that do not hold or represent an interest adverse to the estate, and that are disinterested

persons, to represent or assist the trustee in carrying out the trustee’s duties under this title.” 11

U.S.C. §327(a).

       19.     The Trustee believes that Tranzon and Tranzon360’s commission-based fee will

allow the Trustee to obtain the highest or otherwise best offer for the assets the administers by

leveraging industry expertise and connections to thousands of registered, accredited bidders. The

Trustee also believes: (i) Tranzon and Tranzon360’s experience and connections will inure to the

benefit of the Debtor’s estate and relevant stakeholders in pursuing the sale of various assets, (ii)

the value to the Debtor’s estate and relevant stakeholders of the services provided by Tranzon and

Tranzon360 derives in substantial part from its experience and connections, and (iii) accordingly,

the structure and amount of the Tranzon Tranzon360’s fees is reasonable.

       20.     A trustee or debtor-in-possession’s business judgment is afforded significant

weight. See, e.g., Meyers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citing Fulton

State Bank v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991)); Comm of Equity Sec

Holders v. Lionel Corp. (In re Lionel Corp.) 722 F.2d 1063, 1070 (2d Cir. 1983); Comm. of

Asbestos-Related Litigants v. Johns-Manville Corp. (In re Johns-Manville Corp), 60 B.R. 612

(Bankr. S.D.N.Y. 1986) (“Where the debtor articulates a reasonable basis for its business decisions

(as distinct decision made arbitrarily or capriciously), courts will generally not entertain objections

to the debtor’s conduct”). The business judgment rule is respected within the context of a chapter

7 case and shields the trustee from judicial second-guessing.



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       21.     Based on the facts, and for the reasons stated herein and in the Toney and

Tanenbaum Declarations, the retention of Tranzon and Tranzon360 as broker for the Trustee

pursuant to this Application is reasonable, necessary, and appropriate, and satisfies the

requirements of sections 327 and 328 of the Bankruptcy Code and Bankruptcy Rule 2014(a).

                                            CONCLUSION

       WHEREFORE, for the reasons set forth herein, the Trustee respectfully requests that the

Court enter the proposed order (a) approving the retention of Tranzon and Tranzon360 as the

Trustee’s broker pursuant to sections 327 and 328 of the Bankruptcy Code; (b) approving the

compensation and expense reimbursement terms set out above; and (c) granting such other and

further relief as may be just and proper.

                             [Remainder of page intentionally blank]




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       Dated: August 22, 2024



                                                    /s/ Christopher R. Murray
                                                    Christopher R. Murray
                                                    Chapter 7 Trustee for the Bankruptcy
                                                    Estate of Alexander E. Jones




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas, on this 22nd day of August 2024.

                                                     /s/ Joshua W. Wolfshohl
                                                         Joshua W. Wolfshohl




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